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                         UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HONORABLE JENNIFER CHOE-GROVES, JUDGE

-------------------------------------------------------x
UNITED STATES                                          :
                                                       :
                                    Plaintiff,         :
                                                       :
                  v.                                   :
                                                       :
GREENLIGHT ORGANIC, INC.,                              :      Court No. 17-00031
                                                       :
                           and                         :
                                                       :
PARAMBIR SINGH “SONNY” AULAKH :
                                                       :
                                    Defendants.        :
-------------------------------------------------------x


                                                    ORDER
        Upon consideration of defendants’ motion to compel and upon other papers and

proceedings had herein, it is hereby

        ORDERED that defendants’ motion to compel is granted; and it is further

        ORDERED that plaintiff shall provide sufficient responses to Requests For Admissions

Numbers. 1-43, 47-57, 59, 61-75, 77-104, and 107-116 within twenty (20) days of the date of

entry of this order; and it is further

        ORDERED that defendants shall have five days to examine and review plaintiff’s

compliance with this Order. Upon completion of that review, if defendants believe that plaintiff

has not properly complied with this Order, defendants shall advise this Court of the bases for

such belief, and transmit a copy of that position to plaintiff by email or facsimile transmission,

and it is further
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        ORDERED that plaintiff shall have five days to respond to defendants’ submission, and

shall provide defendant with an email of that response, if any, and it is further

        ORDERED that if defendants are of the belief that plaintiff has properly complied with

this Order, then the defendants shall advise the Court of that position, and transmit a copy of that

position to plaintiff by email, and it is further

        ORDERED that if plaintiff fails to file proper responses to the defendants’ requests for

admission within the time required by this order, then defendants’ request for admission will be

deemed admitted, and it is further

        ORDERED that plaintiff shall pay defendants the reasonable attorney’s fees and costs

they incurred in filing this motion.



                                                        ________________________
                                                        Jennifer Choe-Groves, Judge




Dated: ___________________
       New York, New York




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                     UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HONORABLE JENNIFER CHOE-GROVES, JUDGE

-------------------------------------------------------x
UNITED STATES                                          :
                                                       :
                                    Plaintiff,         :
                                                       :
                  v.                                   :
                                                       :
GREENLIGHT ORGANIC, INC.,                              :     Court No. 17-00031
                                                       :
                           and                         :
                                                       :
PARAMBIR SINGH “SONNY” AULAKH :
                                                       :
                                    Defendants.        :
-------------------------------------------------------x

                 MOTION TO COMPEL PLAINTIFF TO PROVIDE PROPER
                ANSWERS TO DEFENDANTS’ REQUESTS FOR ADMISSION

        Pursuant to USCIT R. 1, 26, 36, and 37, Defendants Greenlight Organic, Inc. and

Parambir Singh (“Sonny”) Aulakh file this motion for an order compelling the plaintiff, United

States (“the Government”), to serve proper answers to Requests For Admission Numbers

(“RFAs” or “Requests”) 1-43, 47-57, 59, 61-75, 77-104, and 107-116, on the grounds that the

objections to the requests stated by the Government are unjustified.

        On June 4, 2021, Greenlight submitted requests for admission to the plaintiff. The

Government provided responses on June 21, 2021. In its response, the Government has chosen

to object and make qualified denials to all but three of the requests. As detailed in defendants’

annexed memorandum, plaintiff’s responses fail to provide meaningful and sufficient answers to

the RFAs, pursuant to guidelines provided in USCIT R. 36. The Government has wrongfully

objected to established factual assertions on the grounds that clear and precise terms are now
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“ambiguous” or are a “mischaracterization” of the underlying documents which form the basis

for the RFA.

       The Government has also decided to evade a substantive response to the RFAs by falsely

claiming that requests were “incoherent and prevent[ed] a meaningful response.” Moreover, the

Government has provided evasive answers to RFAs by disagreeing with defendants’

characterization of documents that have been referenced in the RFAs. Ultimately, the

Government has chosen to invoke several evasive tactics to avoid providing sufficient answers to

nearly all of defendants’ RFAs.

       Defendants’ counsel made two attempts to resolve the disputed RFAs, on June 24 and 29,

2021, and neither attempt garnered a response from plaintiff’s counsel. See Exhibit L to Def.

Memorandum in Support of this Motion. Therefore, the Government has made it clear that it has

no intention to amend its responses and provide adequate answers. Defendants seek the

assistance of the Court to direct plaintiff to provide proper responses to its Requests.

       Alternatively, defendants move that the matters in RFAs 1-43, 47-57, 59, 61-75, 77-104,

and 107-116 be deemed admitted on the grounds they do not comply with the requirements of

Rule 36.




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       Accordingly, defendants respectfully request the Court to direct plaintiff to file proper

responses to the RFAs or to deem the RFAs admitted, and to award legal fees in connection with

the preparation of this motion.

                                                     Respectfully submitted,

                                                     GRUNFELD, DESIDERIO, LEBOWITZ,
                                                     SILVERMAN & KLESTADT LLP
                                                     Attorneys for Defendants
                                                     599 Lexington Avenue, FL 36
                                                     New York, New York 10022
                                                     Tel. (212) 557-4000
                                                     RSilverman@GDLSK.com

                                             By:     /s/ Robert B. Silverman
                                                      Robert B. Silverman
                                                      Joseph M. Spraragen



Dated: July 23, 2021
       New York, New York




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